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                  EXHIBIT O Part 1
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                                               ,   .
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10     Attorneys for Defendants                                                       OCT 2 1 2008
11
                                   UNITED STATES DISTRICT COURT               Rosen, Bien & Gc Ivan
12
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                          AND THE NORTHERN DISTRICT OF CALIFORNIA
14
               UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
15
                   PURSUANT TO SECTION ,2284, TITLE 28 UNITED STATES CODE
16

17
       RALPH COLEMAN, et aI.,                           No. 2:90-cv-00520 LKK JFM P
18
                         Plaintiffs,                   ,THREE-JUDGE COURT
.19           v.
20     ARNOLD SCHWARZENEGGER, et aI.,
21                       Defendants.
                                                        No. C01-1351 TEH
22     MARCIANO PLATA,'et aI.,
                         Plaintiffs,                    THREE-JUDGE COURT
23
              v.                                        DEFENDANT ARNOLD
24                                                      SCHWARZENEGGER'S RESPONSE TO
       ARNOLD SCHWARZENEGGER, et aI.,                   PLAINTIFF COLEMAN'S SECOND S'ET
25                                                      OF REQUESTS FOR ADMISSIONS
                         Defendants.
26

27
                                                       -1-
28     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
       SECOND SET OF REQUESTS FOR ADMISSIONS
                                                                                             1637825.1
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 1   PROPOUNDING PARTIES:                 Plaintiff Ralph Coleman
 2   RESPONDING PARTY:                    Defendant Arnold Schwarzenegger
 3   SET:                                 Two
 4                                            DEFINITIONS

 5             In construing these discovery responses, the following definitions shall apply:
 6             1.    "Plaintiff' shall mean the Propounding Party Ralph Coleman, the named

 7   PLAINTIFF in the action Coleman v. Schwarzenegger, Case No. Civ S 90-0520 LKK-
 8   JFM P (E.D. Cal.) (Coleman).

 9             2.    "DSfendant" shall mean Governor Arnold Schwarzenegger, a named

10   Defendant in Coleman, in his official capacity as Governor ofthe State of California.

11             3.    "Defendants" shall mean each of the named Defendants in the Coleman

12   action.
13             4.    "Proceeding" shall mean the Three-Judge Panel proceeding convened

14   under 28 U.S.C. Section 2284 in the cases of Plata v. Schwarzenegger, Case No. C 01
15   1351 TEH (N.D. Cal.) (Plata) and Coleman.
16                                 . _PRELIMINARY STATEMENT

17             1.    All of the following responses are based solely upon information and

18   documents which are presently available to, and specifically known by Defendant and

19   disclose only those contentions which presently occur to Defendant. Additional
20   investigation, legal research and analysis may supply additional facts and-lead to

21   additions, changes, and variations from these responses.

22             2.    The following responses are given without prejudice to Defendant's right to

23   produce subsequently discovered documents or to add, modify, or otherwise change or

24   amend the responses. The information set forth is true and correct to the best

25   knowledge of the Defendant as of this date, and is subject to correction for omissions,

26   errors, or mistakes. These responses are based on records and information presently

27   available to Defendant.

28             3.     Defendant objects to these requests to the extent that they identify
                                                   -2-
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    Defendant Schwarzenegger. as the responding party but appear to seek admissions from

 2    numerous persons, including other Defendants in this proceeding. Federal Rule of Civil

 3    Procedure 36 anticipates that a written request for admissions may be served on only

 4    one party at a time. The extent Plaintiff's requests seek responses from other

 5    Defendants, those requests must be directed to those other Defendants, and not to

 6    Defendant Schwarzenegger on their behalf.

 7           4.     Defendant objects to these requests to the extent that they seek

 8    information protected from disclosure by the attorney-client privilege, deliberative

 9    process privilege, and official information privilege.

10           5.     Defendant objects that the discovery seeks information that is neither

11    relevant to the claims or defenses in this proceeding nor reasonably calculated to lead to

12    the discovery of admissible evidence .

13           6.    .Defendant objects to the requests to the extent that they seek information

14    equally available to Plaintiff through public sources or records, and on the grounds that

15    they subject Defendant to unreaso~able and undue annoyqnce, oppreSSion, burden, and

16    expense. Defendant further objects to the requests to the extent that such requests are

17    unduly burdensome because much or all of the information requested is otherwise

18    equally or more available to Plaintiff than to Defendant.

19           7.     Defendant objects that the discovery seeks information outside of

20    Defendant's control. To the extent the discovery seeks information known only to the

21    other Defendants, parties, or persons, Plaintiff should direct said discovery to those

22    individuals, not Defendant.

23           8.     Given the shortened time for Defendant's responses to this discovery,

24    Defendant reserves the right to supplement these responses at a later date, including

25    after the issuance and/or receipt of further expert reports and witness declarations in this

26·   matter. With regard to each request, Defendant reserves the right, notwithstanding

27    these answers and responses, to employ at trial or in any pretrial proceeding information

28    subsequently obtained or discovered, information the materiality of which is not presently
                                                -3-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1   ascertained, or information Defendant does not regard as coming within the scope of the

 2   requests as Defendant understands them.

 3          9.     These responses are made so'lely for the purpose of this action. Each

 4   answer is subject to all objections to competence, relevance, materiality, propriety,

 5   admissibility, privacy, privilege, and any and all other objections that would require
 6   exclusion of any statement contained herein if any such requests were ask~d of, or any

 7   statement contained herein were made by, a witness present and testifying in court, all

 8   of which objections and grounds are reserved and may be interposed at. the time of trial.
 9                       RESPONSES TO REQUESTS FOR ADMISSION

10   REQUEST FOR ADMISSION NO.1:

11          Admit that the document excerpt attached as Exhibit A is a true and correct copy

12   of page 178 of YOUR January 10, 2008 Governor's Budget Summary 2008-2009.
13   RESPONSE TO REQUEST FOR ADMISSION NO.1:

14          Defendant objects to this request because it seeks information that is not relevant

15   to a claim or defense at issue in this proceeding. Additionally, this request requires a

16   response that is more properly sought from parties or persons other than this responding

17   Defendant.

18          Subject to, and without waiving the above objections, Defendant responds to this

19   request as follows: Defendant admits upon information and belief that the Exhibit

20   contains an excerpt of the identified document.
21   REQUEST FOR ADMISSION NO.2:

22          Admit that YOUR proposal set forth in Exhibit A was to release specified non-

23   violent, non-serious, non-sex offenders without prior serious or violent offenses or

24   strikes, 20 months earlier than their original release date.
25   RESPONSE TO REQUEST FOR ADMISSION NO.2:

26          Defendant objects to this request because it seeks information that is not relevant

27   to a claim or defense at issue in this proceeding. Additionally, this request requires a

28   response that is more properly sought from parties or persons other than this responding
                                                 -4-
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    Defendant. Furthermore, this request misstates the scope of and multiple subparts

 2    contained within the referenced document. Moreover, Defendant objects to this request

 3    on the grounds that it seeks information protected from disclosure by the attorney-client

 4·   privilege, deliberative process privilege, and official information privilege.

 5           Subject to, and without waiving the above objections, Defendant responds to this

 6    request as follows: Defendant admits upon information and belief that the Exhibit

 7    contained a proposal for the release of specified prisoners as noted in the request. This

 8    proposal was the result of a budget reduction directive issued to all State agencies and

 9    departments to determine possible means of reducing the overall budget in response to

10    projected shortfalls.

11    REQUEST FOR ADMISSION NO.3:

12           Admit that your proposal set forth in Exhibit A was not intended to cause an

13    ADVERSE IMPACT ON PUBLIC SAFETY in California.

14    RESPONSE TO REQUEST FOR ADMISSION NO.3:

15           Defendant objects to this request because it seeks information that is not relevant

16    to a claim or defense at issue in this proceeding. Additionally, thi.s request requires a

17    response that is more properly sought from parties or persons other than this responding

18    Defendant. .Furthermore, this request is vague and ambiguous as to the terms "your

19    proposal," "intended to cause" and "ADVERSE IMPACT ON PUBLIC SAFETY."

20    Moreover, this request misstates the scope of and multiple subparts contained within the

21    referenced document. Additionally, Defendant objects to this request on the grounds

22    that it seeks information protected from disclosure by the attorney-client privilege,

23    deliberative process privilege, and official information privilege.

24           Subject to, and without waiving the above objections, Defendant responds to this

25    request as follows: Defendant admits upon information and belief that the proposal

26    contained in the Exhibit was part of the annual State budget process was not included in

27    the May revision, was not adopted in the final budget, and was not intented to cause an

28    adverse impact in the State of California.
                                                   -5-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1     REQUEST FOR ADMISSION NO.4:

 2            Admit that YOUR proposal in Exhibit A was not intended to cause an ADVERSE

 3'    IMPACT ON THE CRIMINAL JUSTICE SYSTEM in California.

 4     RESPONSE TO REQUEST FOR ADMISSION NO.4:

 5            Defe,ndant objects to this request because it seeks information that is not relevant

 6     to a claim or defense at issue in this proce.eding. Additionally, this request requires a

 7     response that is more properly sought from parties or persons other than this responding

 8    . Defendant. Furthermore, this request is vague and ambiguous as to the terms "your

 9     proposal," "intended to cause" and "ADVERSE IMPACT ON THE CRIMINAL JUSTICE

10     SYSTEM." Moreover, this request misstates the scope of and multiple subparts

11     contained within the referenced document. Additionally, Defendant objects to this

12     request on the grounds that it seeks information protected from disclosure by.the

13     attorney-client privilege, deliberative process privilege, and official information privilege.

14            Subject to, and without waiving the above objections, Defendant responds to this

15     request as follows: Defendant admits upon information and belief that the proposal

16     contained in the Exhibit was part of the annual State budget process, was not adopted,

17     and was not intented to cause an adverse impact the criminal justice system in the State

18     of California.

19     REQUEST FOR ADMISSION NO.5:

20            Admit that the document attached as Exhibit 8 is a true and correct copy of a

21     transcript of YOUR December 21, 2006 press conference at which YOU unveiled YOUR

22     Comprehensive Prison Reform Proposal.

23     RESPONSE TO REQUESt FOR ADMISSION NO.5:

24            Defendant objects to this request because it seeks information that is not relevant

25     to a claim or defense at issue in this proceeding. Additionally, this request requires a

26     response that is more properly sought from parties or persons other than this responding

27     Defendant.

28
                                                    - 6-
       DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
       SECOND SET OF REQUESTS FOR ADMISSIONS
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 1           Subject to, and without waiving the above objections, Defendant responds to this

 2    request as follows: Defendant admits upon information and belief that the Exhibit

 3    appears to contain a transcript of the identified press conference.

 4    REQUEST FOR ADMISSION NO.6:

 5           Admit that YOUR December 21, 2006 proposal for a sentencing commission was

 6    not intended to cause. an ADVERSE IMPACT ON PUBLIC SAFETY in California.

 7    . RESPONSE TO REQUEST FOR ADMISSION NO.6:

 8           Defendant objects to this request because it seeks information that is not relevant

 9    to a claim or defense at issue in this proceeding. Additionally, this request requires a

10    response that is more properly sought .trom parties or persons other than this responding

11    Defendant. Furthermore, this request is vague and ambiguous as t9 the terms· "proposal

12    for a sentencing commission," "intended to cause" and "ADVERSE IMPACT ON PUBLIC

13·   SAFETY." Moreover, this request misstates the scope of and multiple subparts

14    contained within the referenced document. Additionally, Defendant objects to this

15    request on the grounds that it seeks information protected from disclosure by the

16    attorney-client privilege, deliberative process privilege, and official information privilege.

17           Subject to, and without waiving the above objections, Defendant responds to this

18    request as follows: Defendant admits upon information and belief that the proposal

19    contained in the Exhibit was not intended to cause an adverse impact on public safety in

20    California.

21    REQUEST FOR ADMISSION NO.7:

22           Admit that YOUR December 21, 2006 proposal for a sentencing commission was

23    not intended to cause an ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM in

24    California.

25    RESPONSE TO REQUEST FOR ADMISSION NO.7:

26           Defendant objects to this request because it seeks information that is not relevant

27    to a claim or defense at issue in this proceeding. Additionally, this request requires a

28    response that is more properly sought from parties or persons other than this responding
                                                - 7-
      DEFENDANT ARNOLD SCHWARZENEGGE'3'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    Defendant. Furthermore, this request is vague and ambiguous as to the terms "proposal
 2    for a sentencing commission," "intended to cause" and "ADVERSE IMPACT ON THE
 3    CRIMINAL JUSTICE SYSTEM." Moreover, th.is request misstates the scope of and

 4    multiple subparts contained within the referenced document. Additionally, Defendant
 5    objects to this request on the grounds that it seeks information protected from disclosure,

 6    by the attorney-client privilege, deliberative process privilege, and'official information

 7    privilege.
 8           Subject to, and without waiving the above objections, Defendant responds to this

 Q    request as follows: Defendant admits upon information and belief that the proposal

10    contained in the Exhibit was not intended to cause an adverse impact on the criminal

11    justice system in California.
12    REQUEST FOR ADMISSION NO.8:

13           Admit that YOUR December 21, 2006 proposal for parole reform (see Exhibit B,

14    attached) was not intended to cause an ADVERSE IMPACT ON PUBLIC SAFETY in

15    California.
16    RESPONSE TO REQUEST FOR ADMISSION NO.8:

17           Defendant objects to this request because it seeks information that is not relevant

18    to a claim or defense at issue in this proceeding. Additionally, this request requires a

19    response that is more properly sought from parties or persons other than this responding
20    Defendant. Furthermore, this request is vague and ambiguous as to the terms "proposal

21    for parole reform" and "ADVERSE IMPACT ON PUBLIC SAFETY." Moreover, this

22    request misstates the scope of and multiple subparts contained within the referenced

23    document. Additionally, Defendant objects to this request on the grounds that it seeks

24    information protected from disclosure by the attorney-client privilege, deliberative

25.   process privilege, and official information privilege.

26           Subject to, and without waiving the above objections, Defendant responds to this

27    request as follows: Defendant admits upon information and belief that the proposal
28    contained in the Exhibit was not intended to cause an adverse impact"on public safety in
                                                 -8-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1   California.
 2   REQUEST FOR ADMlS.S10N NO.9:

 3          Admit that YOUR December 21 , 2006 proposal·for parole reform was not

 4   intended to cause an ADVERSE IMPACT.oN THE CRIMINAL JUSTICE SYSTEM in

 5   California.
 6   ·RESPONSE TO REQUEST FOR ADMISSION NO.9:

 7          Defendant objects to this request because it seeks information that is not rel.evant

 8   to a claim or defense at issue in this proceeding. Additionally, this request requires a

 9   response that is more properly sought from parties or persons other than this responding
10   Defendant. Furthermore, this request is vague and ambiguous as to the terms "proposal

11   for parole reform" and "ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM."

12   Moreover, this request misstates the scope of and multiple subparts contained within the
13   referenced document. Additionally, Defendant objects to this request on the grounds

14   that it seeks information protected from disclosure by the attorney-client privilege,
15   deliberative process privilege, and official information privilege.

16          Subject to, and without waiving the above objections, Defendant responds to this

17   request as follows: Defendant admits upon information and belief that the proposal

18   contained in the Exhibit was not intended to cause an adverse impact on public safety in

19   California.
20   REQUEST FOR ADMISSION NO. 10:

21          Admit that 15 CCR, section 3040.2 requires each prison to establish "Bridging

22   Education Programs as work/training incentive assignments to provide education

23   programming."

24   RESPONSE TO REQUEST FOR ADMISSION NO.1 0:

25          Defendant objects to this request because it seeks information that is not relevant

26   to a claim or defense at issue in this proceeding. Additionally, this request requires a

27   response that is more properly sought from parties or persons other than this responding

28   Defendant. Moreover, this request calls assumes information beyond the knowledge of
                                                  -9-
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    this responding Defendant and seeks a legal conclusion. Additionally, assuming that the

 2    request regards .section 3040.2 of Title 1-5 of the California Code of Regulations, this

 3   - request misstate~ the scope of and multiple subparts contained within the referenced

4     section.

 5           Subject to, and without waiving the above objections, Defendant responds to this

 6    request as follows: Defendant admits upon information and belief that a portion of the

 7    referenced section contained within Title 15 of the California Code of Regulations states:

 8    "Each prison shall establish Bridging Education Programs as work/training incentive

 9    assignments to provide education programming."

10    REQUEST FOR ADMISSION NO. 11:

11           Admit that 15 CCR, section 3040.2 provides that prisoners who are undergoing

12    reception center processing, and are day-for-day credit eligible under Penal Code

13    section 2933, are assigned to the Bridging Program upon arrival at the reception

14    centers.

15    RESPONSE TO REQUEST FOR ADMISSION NO. 11:

16           Defendant objects to this request on the grounds that it seeks information that is

17    not relevant to a claim or defense at issue in this proceeding. Additionally, this request

18    requires a response that is more properly sought from parties or persons- other than this

19    responding Defendant. Moreover, this request calls for information beyond the

20    knowledge of this responding Defendant and seeks a legal conclusion. Additionally,

21    assuming that the request regards section 3040.2 of Title 15 of the California Code of

22    Regulations, this request misstates the scope -of and multiple subparts contained within

23    the referenced section.

24           Subject to, and without waiving the above objections, Defendant responds to this

25    request as follows: Defendant admits upon information and belief that a portion of the

26    referenced section contained within Title 15 of the California Code of Regulations states:

27    "Inmates who are undergoing reception center processing, and are day-for-say credit

28    eligible under Penal code section 2933, are assigned to the Bridging Program upon
                                               -10-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    arrival at the reception centers."
 2    REQUEST FOR ADMISSION NO. 12:

 3           Admit that, under 15 CCR section 3040.2, assignment to an approved Bridging

 4    Education Program qualified as a full-time assignment in Work Group A-1, entitling the

 5    prisoner to day-for-day credit.
 6    RESPONSE TO REQUEST FOR ADMISSION NO. 12:

 7           Defendant objects to this request because it seeks information that is not relevant

 8    to a claim or defense at issue in this proceeding. Additionally, this request requires a
 9    response that is more properly sought from parties or persons other than this responding

10    Defendant. Moreover, this request calls for information beyond the knowledge of this

11    responding Defendant and seeks a legal conclusion. Additionally, assuming that the
12    request regards section 3040.2 of Title 15 of the California Code of Regulations, this

13    request misstates the scope of and multiple subparts contained within the referenced

14    section.
15           Subject to, and without waiving the above objections, Defendant responds to this

.16   request as follows: Defendant admits upon information and belief that a portion of the

17    referenced section contained within Title 15 of the California Code of Regulations states:

18    "Assignment to an approved Bridging Education Program qualified as a full-time

1·9   assignment in Work Group A-1, entitling the prisoner to day-for-day credit."
20    REQUEST FOR ADMISSION NO. 13:

21           Admit that the Bridging Program does not cause an ADVERSE IMPACT ON
22    PUBLIC SAFETY in California.

23    RESPONSE TO REQUEST FOR ADMISSION NO. 13:(




24           Defendant objects to this request on the grounds that it seeks information that is
25    not relevant to a claim or defense at issue in this proceeding. Defendant fLlrther objects

26    to this request on the grounds that it requires a response that is more properly sought

27    from parties or persons other than this responding Defendant. Defendant further objects

28    to this request on the grounds that it is vague and ambiguous as to the term "Bridging
                                                  - 11 -
      DEFENDANT ARNOLD SCHWARZENEGGE;R'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1   .Program", and "ADVERSE IMPACT ON PUBLIC SAFETY." Defendant further objects to

 2   this request on the grounds that it seeks information protected from disclosure by the
 3   attorney-client privileg,e, deliberative process privilege, and official information privilege.

 4   Defendant further objects to this request on the grounds that it assumes information

 5   beyond the knowledge of this responding Defendant and seeks a legal conclusion.
 6   Defendant further objects to this request on the grounds that it requires this r~sponding
 7   Defendant to assume an 'incomplete hypothetical. Defendant further objects to this
 8   request on the' grounds that it is burdensome and oppressive in that in order to

 9; appropriately respond, Defendant would have to review thQusands of records of

10   ,I?risoners and/or parolees enrolled in the referenced program. Defendant further

11   objects to this request on the grounds that it is overbroad, unduly burdensome, vague,

12   and ambiguous as to time in that it fails to specify any period of time, and is therefore not

13   reasonably calculated to lead to the discovery of admissible evidence.

14          S.ubject to, and without waiving the above objections, Defendant responds to this
15   request as follows: Defendant lacks sufficient infor~ation to admit or deny the matter

16   stated in the request based on the objections noted above., While the Bridging Program
17   itself does not have direct impact on public safety, it does result in the release of inmates

18   before they. have served the entirety of their sentenced time, and Defendant does not

19   know the full extent of the impact on public safety.
20   REQUEST FOR ADMISSION NO; 14:

21          Admit that the Bridging Program does not cause an ADVERSE IMPACT ON THE

22   CRIMINAL JUSTICE SYSTEM in California.

23   RESPONSE TO REQUEST FOR ADMISSION NO. 14:

24          Defendant objects to this request on the grounds that it seeks information that is
25   not relevant to any party's claim or defense at issue in this proceeding. Defendant

26   further objects to this request on the grounds that it requires a response that is more

27   properly sought from parties or persons other than this responding Defendant.

28   Defendant further objects to this request on the grounds that it is vague and ambiguous
                                                - 12 -
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    as to the term "Bridging Program" and "ADVERSE IMPACT ON THE CRIMINAL
 2    JUSTICE SYSTEM." Defendant further objects.to this request on the grounds that it
 3    seeks information protected from disclosure by the attorney-client privilege,deliberative

 4    process privilege, and official information privilege. Defendant further objects to this

 5    request on the grounds that it assumes information beyond the knowledge of this
 6    responding Defendant and seeks a legal conclusion. Defendant further objects to this

 7    request on the grounds that it requires this responding Defendant to assume an

 8    incpmplete hypothetical. Defendant further objects to this request on the grounds that it
 9    is burdensome and oppressive in that in order to appropriately respond, Defendant
10    would have to review thousands of records of prisoners and/or parolees enrolled in the
11    referenced program. Defendant further objects to this request on the grounds that it is

12    overbroad, unduly burdensome, vague, and ambiguous as to time in that iHails to

13    specify any period of time, and is therefore not reasonably calculated to lead to the
14    discovery of admissible evidence.

15           Subject tO,and without waiving the above objections, Defendant responds to this
16    request as follows: Defendant lacks sufficient information to admit or deny the matter

17    stated in the request based on the objections noted above. While the Bridging Program

18· itself does not have direct impact on the criminal justice system, it does result in the

19    release of inmates before they have served the entirety of their sentenced time, and
20    Defendant does not know the full extent of the impact on the criminal justice system.
21    REQUEST FOR ADMISSION NO. 15:

22           Admit that some prisoners receive pre-sentence conduct credits, under Penal

23    Code section 4019, for time periods spent in jail or in a residential treatment program.
24    RESPONSE TO REQUEST FOR ADMISSION NO. 15:

25           Defendant Dbjects to this request on the grounds that it seeks information that is

26    not relevant to any party's claim or defense at issue in this proceeding. Defendant
27    further objects to this request on the grounds that it requires a response that is more

28    properly sought from parties or persons other than this responding Defendant.
                                            . -1~-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 ·1   Defendant further objects to this request on the grounds that·it is vague and ambiguous

 2    as to the term "pre-s.entence conduct credits." Additionally, assuming that the request
 3    regards Section 4019 of the California Penal Code, this request misstates the scope of
 4    and multiple subparts contained within the referenced section. Defendant further·objects

 5    to this request on the grounds that it seeks information protected from disclosure by~the
 6    attorney-client privilege, deliberative process privilege, and official information privilege.

 7    Defendant further objects to this request on the grounds that it assumes information
 8    beyond the knowledge of this responding Defendant and seeks a legal conclusion.

 9    Defendant further objects to this request on the grounds that it requires this responding

10    Defendant to assu·me an incomplete hypothetical. Defendant further objects to this
11    request on the grounds that it is burdensome and oppressive in that in order to

12    appropriately respond, Defendant would have to review thousands of records of

13    prisoners andlor parolees enrolled in th~ referenced program. Defendant further

14    objects to this request on the grounds that it is overbroad, unduly burdensome, vague,
15    and ambiguous as to time in that it fails to specifY any period of time, and is therefore not
16    reasonably calculated to lead·to the discovery of admissible evidence.

17           Subject to, and without waiving the above objections, Defendant responds to this

18    request as follows: Defendant admits upon information and belief that Penal Code

19    section 4019 provides for pre-sentence credits based on satisfactory performance and

20    behavior. Defendant is unable to adm.it or deny that prisoners have received the credits
21    as detailed in California Penal Code section 4019 because such independent

22    investigation is not possible within the time parameters dictated for a response to this

23    request.
24    REQUEST FOR ADMISSION NO. 16:

25           Admit that the pre-sentence conduct credits under Penal Code Section 4019, for
26    time periods spent in jail do not cause an ADVERSE IMPACT ON PUBLIC SAFETY in

27    California.

28    III
                                                   -14-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR ADMISSIONS
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 1    ' RESPONSE TO REQUEST FOR ADMISSION NO. 16:

 2            Defendant .objects to this request on the greuncls that it se~ks information that is

 3    net relevant to any party's claim .or defense at issLie in this proceeding. Defendant

 4    further objects te this request en the grounds that it requires a respense that is mere

 5    preperly seught frem parties .or persens other than this respending Defendant.

 6     Defendant further .objects to this request en the greunds,that it is vague and ambigueus

 7    as te the terms "pre-sentence credits" and "ADVERSE IMPACT ON PUBLIC SAFETY."

 8    Additienally, assuming that the request regards Section 4019 .of the California Penal

 9     Code, this request misstates the scope of and multiple subparts centained within the

10     referenced sectien~ Defendant further objects to this request en the grounds that it seeks

11     infermation protected from disclosure by the atterney-client privilege, deliberative

12     process privilege, and official infermation privilege. Defendant further .objects to this

13     request on the grounds that it assumes infermation beyend the knewledge .of this '

14     responding Defendant and seeks a legal conclusien. Defendant further objects to this

1'5    request en the grounds that it requires this respending Defendant te assume an

16     incemplete hypethetical. Defendant further .objects te this request on the greunds that it

17     is burdensome and .oppressive in that in order to appropriately respend, Defendant

18     would have to review theusands .of recerds of priseners and/or parolees granted these

19     credits. Defendant further .objects to this request en the grounds that it is overbroad,

20     unduly burdenseme, vague, and ambiguous as to time in that it fails to specify any

21     period .of time, and is therefere net reasonably calculated to lead te the discovery of

22     admissible evidence.

23            Subject to, and without waiving the above .objections, Defendant respends to this

24     request as fellews: Defendant lacks sufficient infermatien to admit .or deny the matter

25     stated in the request based on the ebjectiens neted abeve. While the geed behavior

26    ,time credits themselves de not have direct impact en public safety, they do result in the

27     release .of inmates befere they have served the entirety .of th~ir sentenced time, and

28     Defendant dees net knew the full extent .of the impact on public safety.
                                                     - 15 -
       DEFENDANT ARN.oLD SCHWARZENEGGER'S RESP.oNSE T.o PLAINTIFF COLEMAN'S
       SEC.oND SET .oF REQUESTS F.oR ADMISSI.oNS
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 1   REQUEST FOR ADMISSION NO. 17:

 2          Admit that pre..,sentence conduct credits under Penal Code sectionA019 do not

 3   cause an ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM in California.

 4   RESPONSE TO REQUEST FOR ADMISSION NO. 17:

 5          Defendant objects to this request on the grounds that it seeks information that is

 6   not relevant to any party's claim or defense at issue in this proceeqi!l9. Defendant

 7   further objects to this request on the grounds that it requires a response that is more

 8· properly SQIJ9ht from parties or persons other than this responding Defendant.

 9   Defendant further objects to this request on the grounds that it is vague and ambiguous

10   as to the terms "pre-sentence credits" and "ADVERSE IMPACT ON THE CRIMINAL

11   JUSTICE SYSTEM." Additionally, assuming that the request regards Section 4019 of

12   the California Penal Code, this request misstates the scope of and multiple subparts

13   contained within the referenced section. Defendant further objects to this request on the

14   grounds that it seeks information protected from disclosure by the attorney-client

15   privilege; deliberative process privilege, and official information privilege. Defendant

16   further objects to this request on the grounds that it assumes information beyond the

17   knowledge of this responding Defendant and seeks a legal conclusion. Defendant

18   further objects to this request on the grounds that it requires this responding Defendant

19   to assume an incomplete hypothetical. Defendant further objects to this request on the

20   grounds that it is burdensome and oppressive in that in order to appropriately respond,

21   Defendant would have to review thousands of records of prisoners and/or parolees

22   .granted these credits. Defendant further objects to this request on the grounds that it is

23   overbroad, unduly burdensome, vague, and ambiguous as totime in that it fails to

24   specify any period of time, and is therefore not reasonably calculated to lead to the

25   discovery of admissible evidence.

26          Subject to, and without waiving the above objections, Defendant responds to this

27   request as follows: Defendant lacks sufficient information to admit or deny the matter

28   stated in the request based on the objections noted above. While the good behavior
                                               - 16-
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    time credits themselves do not have direct impact on the criminal justice system, they do

 2    result in the release of inmates before they have. served the entirety of their sentenced

 3·   time, and Defendant does not know the full extent of the impact on the criminal justice

 4    system.

 5    REQUEST FOR ADMISSION NO. 18:

 6           Admit that some prisoners receive post-sentence, pre-prison conduct credits,

 7    under Penal ~ode ,.section 40-19, for time periods spent in jail.

 8    RESPONSE TO REQUEST FOR ADMISSION NO. 1-8:

 9           Defendant obje.cts to this request on the grounds that it seeks information that is

10    not relevant to any party's claim or defense at issue in this proceeding. Defendant

11    further,objects to this request on the.grounds that it requires a response. that is more

12    properly sought from' parties or persons other than this responding Defendant.

13    Defendant further objects to this request on the grounds that it is vague and ambiguous

14    as to the term "post-sentence, pre-sentence credits." Additiona"y, .assuming that the

15    request regards Section 4019 of the California Penal Code, this request misstates the

16    scope of and multiple subparts contained within the referenced section. Defendant

17    further objects to this request on the grounds that it seeks information protected from

18    disclosur~ by the attorney-client privilege, deliberative process privilege, and official

19    information privilege. Defendant further objects to this request on the grounds that it

20    assumes information beyond the knowledge of this responding Defendant and seeks a

21    legal conclusion. Defendant further objects to this request on the grounds that it

22    requires this responding Defendant to assume an incomplete hypothetical. Defendant

23    further objects to this request on the grounds that it is burdensome and oppressive in

24    that in order to appropriately respond, Defendant would have to review thousands of

25    records of prisoners and/or parole,es granted these credits. Defendant further objects to

26    this request on the grounds that it is overbroad, unduly burdensome, vague, and

27    ambiguous as to time in that it fails to specify any period of time, and is therefore not

28    reasonably calculated to lead to the discovery of admissible evidence.
                                                -17-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1          Subject tO,and without waiving the above objections, Defendant responds to this

 2    request as follows: 'Defendant admits upon information and belief that the period of
 3    confinement for some prisoners are reduced for satisfactory performance and behavior

 4    as detail~d in California Penal Code section 4019.
 5    REQUEST FOR ADMISSION NO. 1'9:
 6,         Admit that post-sentence, pre-prison conduct credits under.Penal Code section

 7    4019·for time periods spent in jail do not cause an ADVERSE IMPACT ON PUBLIC

 8    SAFETY in California.
 9    RESPONSETO REQUEST FOR ADMISSION NO. 19:

10           Defendant objects to this request on the grounds that it seeks information that is

11    not relevant to any party's claim or defense at issue in this proceeding. Defendant
12 . further objects to this request on the grounds that it requires a response that is more

13    properly sought from parties or persons other than this responding Defendant.

14    Defendant further objects to this request on the grounds that it is vague and ambiguous
15    as to the terms "post...sentence, pre-sentence credits" and "ADVERSE IMPACT ON

16    .PUBLIC SAFETY." Additionally, assuming that the request regards Section 4019 of the

17    California Penal Code, this request misstates the scope of and multiple subparts

18    contained within the referenced section. Defendant further objects to this request on the
19    grounds that it seeks information protected from disclosure by the attorney-client

20    privilege, deliberative process privilege, and official information privilege. Defendant
21    further objects to this request on the,grounds that it assumes information beyond the

22    knowledge of this responding Defendant and seeks a legal conclusion. Defendant

23    further objects to this request on the grounds that it requires this responding Defendant

24    to assume an incomplete hypothetical. DefendanHurther objects to this request on the
25    grounds that it is burdensome and oppressive in that in order to appropriately respond,

26    Defendant would have to review thousands of records of prisoners and/or parolees

27    granted these credits. Defendant further objects to this request on the grounds that it is
28    overbroad, unduly burdensome, vague, and ambiguous as to time in that it fails to
                                            - 18-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR ADMISSIONS
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  1    specify any period of time, and is therefore not reasonably calculated to lead to the

  2    discovery of admissible evidence.
  3           Subject to, and without waiving the above objections, Defendant responds to this

  4    request as follows: Defendant lacks sufficient information to admit or deny the matter

  5    stated in the request based on the objections noted above. While the good behavior

  6    time credits themselves do not have direct impact on public safety, they do result in the

  7    release of inmates before they have served the entirety of their sentenoed time, and

  8    Defendant does not know the full extent of the impact on public safety.

  9    REQUEST FOR ADMISSION
             .~.   .)
                             NO. 20:

 10           Admit that post-sentence, pre-prison conduct credits under Penal Code section

 11' 4019, for time p,eriods spent in jail do not cause an ADVERSE IMPACT ON THE

. 12   CRIMINAL JUSTICE SYSTEM in California.

 13    RESPONSE TO REQUEST FOR ADMISSION NO. 20:

 14            Defendant objects to this request on the grounds that it seeks information that is

 15    not relevant to any party's claim or defense at issue in this proceeding. Defendant

 1.6   further objects to this request on the grounds that ,it requires   aresponse that is more
 17    properly sought from parties or persons other than this responding Defendant.

 18    Defendant further objects to this request on the grounds that it is vague and ambiguous

 19    as to the terms "post-sentence, pre~sentence credits" and "ADVERSE IMPACT ON THE

20'    CRIMINAL JUSTICE SYSTEM." Additionally, assuming that the request regards Section

21     4019 of the California Penal Code, this request misstates the· scope of and multiple

22     subparts contained within the referenced section. Defendant further objects to this

23     request on the grounds that it seeks information protected from disclosure by the

24     attorney-client privilege, deliberative process privilege, and official information privilege.

25     Defendant further objects to this request on the grounds that it assumes information

 26    beyond the knowledge of this responding Defendant and seeks a legal conclusion.

27     Defendant further objects to this request on the grounds that it requires this responding

28     Defendant to assume an incomplete hypothetical. Defendant further objects to this
                                             -19-
       DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1   request on the grounds that it is burdensome and oppressive in that in order to
 2   appropriate.ly respond, Defendant would have -to review thous_ands of records of
 3   prisoners and/or parolees granted these credits. Defendant further objects to this
 4   request on the grounds that it is overbroad, unduly burdensome, vague, and ambiguous

 5   as to time in that it fails to specify any period of time, and is therefore not reasonably
 6   calculated to lead to the discovery of admissible evidence.

 7           Subject to, and without waiving the above objections, Defendant responds to this
 8   request as follows: Defendant lacks sufficient information to admit or deny the matter

 9   stated in the request based on the objections noted above. While the good behavior

10   time credits themselves do not have a direct impact on the criminal justice system, they

11   do result in the release of inmates before they have served the entirety of their
12   sentenced time, and Defendant does not know the full extent of the impact on the

13   criminal justice system.
14   REQUEST FOR ADMISSION NO. 21:

15           Admit that some prisoners receive worktime credits under Penal Code section

16   2933.
17   RESPONSE TO REQUEST FOR ADMISSION NO. 21:

18           Defendant objects to this request on the grounds that it seeks information that is

19   not relevant to any party's claim or defense at issue in this proceeding. Defendant

20   further objects to this request on the grounds that it requires a response that is more

21   properly sought from parties or persons other than this responding Defendant.

22   Additionally, assuming that the request regards Section 2933 of the California Penal

23   Code, this request misstates the scope of and multiple subparts contained within the

24   referenced section. Defendant further objects to this request on the grounds that it seeks

25   information protected from disclosure by the attorney-client privilege, deliberative

26   process privilege, and official information privilege. Defendant further objects to this
27   request on the grounds that it assumes information beyond the knowledge of this

28   responding Defendant and seeks a legal conclusion. Defendant further objects to this
                                            - 20 -         .
     DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    request on the grounds that i!requires.this responding Defendant to assume an
 2    incomplete hypothetical. Detendantfurther obJects to this request on the grounds that it
 3    is burdensome and oppressive in that in order to appropriately respond, Defendant

 4    would have to review thousands of records of prisoners and/or parolees granted these
 5    credits. Defendant further objectsto this request on the grounds that it is overbroad,

 6    unduly burdensome, vague, and ambiguous as to time in that it fails to specify any
 7    period of time, and is therefore not reasonably calculated to I.ead to the discovery of

 8    admissible evidence.

 9           Sl.Ibject to, and without waiving the above objections, Defendant responds to this
10· request as follows: Defendant admits upon informatipn and belief that the period of

11    confinement for some prisoners are reduced for satisfactory performance in work,
12    training, or educatipn programs as detailed in California Penal Code section 2933.
13    REQUEST FOR ADMISSION NO. 22:

14           Admit the worktime credits under Penal Code section 2933 do not cause an
15    ADVERSE IMPACT ON PUBLIC SAFETY in California.
16    RESPONSE TO REQUEST FOR ADMISSION NO. 22:

17         . Defendant objects to this request on the grounds that it seeks information that is

18·   not relevant to any party's claim or defense at issue in this proceeding. Defendant

19    further objects to this request on the grounds that it requires a response that is more

20    properly sought from parties or persons other than this responding Defendant.
21    Defendant further objects to this request on the grounds that it is vague and ambiguous

22    as to the term "ADVERSE IMPACT ON PUBLIC SAFETY." Additionally, assuming that

23    the request regards Section 2933 of the California Penal Code, this request misstates

24    the scope of and multiple subparts contained within the referenced section. Defendant
25    further objects to this request on the grounds that it seeks information protected from

26    disclosure by the attorney-client privilege, deliberative process privilege, and official

27    information privilege. Defendant further objects to this request on the grounds that it

28    assumes informatiorr beyond the knowledge of this responding Defendant and seeks a
                                             - 21 -
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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  1    legal conclusion. Defendant further objects to this requast on the grounds that it

  -2   requires this responding Defendantto assume an incomplete hypothetical. Defendant

  3    further objects to this request on the grounds that it is burdensome and oppressive in

  4    that in order to appropriately respond, Defendant would have to review thousands of

  5    records of prisoners and/or parolees granted these credits. Defendantfurther objects to

  6    this re,quest on the grounds that it is 'overbroad, unduly burdensome, vague, and

  7    ambiguous as to time in that it fails to specify any period of time, and is therefore not

  8    reasonably calculated to lead to the discovery of admissible evidence.

  9           Subject to, and without waiving the above objections, Defendant responds to this

. 10   request as follows: Defendant lacks sufficient information to admit or deny the matter

 11    stated in the request based on the objections I)oted above. While the worktime credits

 12    themselves do not have a direct impact on public s<;lfety, they do result in the release of

 13    inmates before they have served the entirety of their sentenced time, and Defendant

 14    does not know the full' extent of the impact on public safety.

 15    REQUEST FOR AD.MISSION NO. 23:

 16           Admit that worktime credits under Penal Code section 2933 do not cause an

 17    ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM in California.

 18    RESPONSE TO REQUEST FOR ADMISSION NO. 23:

 19           Defendant objects to this request on the grounds that it seeks information that is

 20    not relevant to any party's claim ·or defense at issue in this proceeding. Defendant

 21    further objects to this request on the grounds that it requires a response that is more

 22    properly sought from parties or persons other than this responding Defendant.

 23    Defendant further objects to this request on the groun<;is that it is vague and ambiguous

 24    as to the term "ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM."

 25    Additionally, assuming that the request regards Section 2933 of the California Penal

 26    Code, this request misstates the scope of and multiple subparts contained within the

 27    referenced section. Defendant further objects to this request on the grounds that it seeks

 28    information protected from disclosure by the attorneY-Client privilege, deliberative
                                                 - 22-
       DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    process privilege, and offici<;ll information privilege. Defendant further objects to this

 2    request on the grounds that it assL!mes information beyond the knowledge of this
 3    responding Defendant and seeks a legal conclusion. Defendant further objects to this

 4    request on the grounds that it requires this responding Defendant to assume an

 5    incomplete hypothetical. Defendant further objects to this request on the grounds that it

 6    is burdensome and oppressive in that in order to appropri<;ltely "respond, Defendant

 7    would have to review thousands of records of prisoners and/or parolees granted these

 8.   credits. Defendant further objects to this request on the grounds that iUs overbroad,

 9    unduly burdensome, vague, and ambiguous as to time in that it fails to specify any

10    period of time, and is therefore not reasonably calculated to lead to the discovery of

11    admissible evidence.

12           Subject to, and without waiving the above objections, Defendant responds to this

13    request as follows: Defendant lacks sufficient information to admit or deny the matter

14    stated in the request based on the objections noted above. While the worktime credits

15    themselves do not have a direct impact on the criminal justice system, they do result in

16    the release of inmates before they have served the entirety of their sentenced time, and

17    Defendant does not know the full extent of the impact on the criminal justice system.

18·   REQUEST FOR ADMISSION NO. 24:

19           Admit that some prisoners receive "S-time" credits under 15 CCR section 3045.3.

20    RESPONSE TO REQUEST FOR ADMISSION NO. 24:

21           Defendant objects to this request on the grounds that it seeks information that is

22    not relevant to any party's claim or defen?e at issuEr in this proceeding. Defendant

23    further objects to this request on the grounds that it requires a response that is more

24    properly sought from parties or persons other than this responding Defendant.

25    Additionally, assuming that the request regards section 3045.3 of Title 15 of the

26    California Code of Regulations, this request misstates the scope of and multiple subparts

27 . contained within the referenced section. Defendant further objects to this request on the

28    grounds that it seeks information protected from disclosure by the attorney-client
                                                - 23-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1   privilege, deliberative process privilege, and official information privilege. Defendant

 2   furtner,object~.to this request on thegro.undsthat'it assumes information be,yond the

3    knowledge of this responding Defendant and seeks a legal conclusion. Defendant

 4   further objects to this request on the grounds that it requires this respondin9, Defendant

 5   to assume an incomplete hypothetical. Defendant further objects to this request on the

 6   grounds that it is burdensome and oppressive in that in order to appropriately respond,

 7   Defendant Would have to review thousands of records of prisoners and/or parolees

 8   granted these credits. Defendant further objects to this request on the groun(js that it is

 9   overbroad, unduly burdensome, vague, and ambiguous as to time in that it fails to

10   specify any period of time, and is therefore not reasonably calculated to lead to the

11   discovery of admissible evidf3nce.

12           Subject to, and without waiving the above objections, Defendant responds to this

13   request as follows: Defendant admits upon information and belief that some prisoners

14   receive US" time credit commensurate with their designated work group as detailed in

15   Title 15 of the California Code of Regulations section 3045.3.

16   . REQUEST FOR ADMISSION NO. 25:

17           Admit that "S-time" credits do not cause an ADVERSE IMPACT ON PUBLIC

18   SAFETY in California.

19   RESPONSE TO REQUEST FOR ADMISSION NO. 25:

20           Defendant objects to this request on the grounds that it seeks information that is

21    not relevant to any party's claim or defense at issue in this proceeding. Defendant

22   further objects to this request on the grounds that it requires a response that is more

23    properly sought from parties or persons other than this responding Defendant.

24    Defendant further objects to this request on the grounds that it is vague and ambiguous

25    as to the term "ADVERSE IMPACT ON PUBLIC SAFETY." Additionally, assuming that

26    the request regards section 3045.3 of Title 15 of the California Code of Regulations, this

27    request misstates the scope of and multiple subparts contained within the referenced

28    section. Defendant further objects to this request on the grounds that it seeks
                                                 - 24-
      DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1     information protected 'fror;n disclosure by the attorney~client privilege, deliberative

 .2    process privilege,andofficial informationprivile,ge. D~f(:}ndantfurther objects to this

 3     request on the grollnds that it assumes information beyond the knowledge of this

 4     responding Defendant and seeks a legal conclusion. Defendant further objects to this

 5     request on the grounds that it requires this responding Defendant to assume an

 6     incomplete hypothetical. Defendant further objects to this request on the grounds that it

 7     is burdensome and oppressive in that in order to appropriately respond, Defendant

 8     would have to review thousands of records of prisoners and/or parolees granted these

 9     credits.   DefendanHurther objects to this request on the grounds that it is overbroad,

10     unduly burdensome, vague, and ambiguous as to time in that it fails to specify any

11·.   period of time, and is therefore not reasonably calculated to lead to the discovery of

12     admissible evidence.

13'           Subject to, and without waiving the above objections, Defendant re.sponds to this

14     request as follows: Defendant lacks sufficient information to admit or deny the matter

15     ,stated in the request-based on the objections noted above. While the "S" time credits

16     themselves do not have a direct impact on public safety, they do result in the release of

17     inmates before they have served the entirety of their sentenced time, and Defendant

18     does not know the full extent of the impact on public safety.

19     REQUEST FOR ADMISSION ,NO. 26: ,

20            Admit that "S~time" credits do not cause an ADVERSE IMPACT ON THE

21     CRIMINAL JUSTICE SYSTEM in California.

22     RESPONSE TO REQUEST FOR ADMISSION NO. 26:

23'           Defendant objects to this request on the grounds that it seeks information that is

24     not relevant to any party's claim or defense at issue in this proceeding. Defendant

25     further objects to this request on the grounds that it requires a response that is more

26     properly sought from parties or persons other than this responding Defendant.

27     Defendant further objects to this request on the grounds that it is vague and ambiguous

28     as to the term "ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM."
                                                    - 25-
       DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
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 1    Additionally, assuming that the .reque~t regards Title 15 of the-California. Code of

 2    Regulations, this request misstate~ the soapy of and multiple subparts contained within

 3    the referenCErd section. Defendant further objects to this request on the grounds that it

 4    seeks information protected from disclosure by the attorneY-Client privilege, deliberative

 5    process privilege, and official information privilege. Defendant further objects to this

 6    request on the grounds that it assumes information beyond the knowledge of this

 7    responding Defendant and seeks a legal conclusion. Defendant further objects to tbis

 8    request on the grounds that it requires this responding Defendant to assume an

 9    incomplete hypothetical. Defendant further objects to this request ori the grounds that it

10    is burdensome and oppressive in that in order to appropriately.respond, Defendant

11    would have to review thousands of records of prisoners and/or parolees granted these

12    credits. Defendant further objects to this request on the grounds that it is overbroad,

13    unduly burdensome, vague, and ambiguous as to time in that it fails to specify any

14    period of time, and is therefore not reasonably calculated to lead to the discovery of

15    admissible evidence.

16           Subject to, and without waiving the above objections, Defendant responds to this

17 . request as follows: Defend~!1t lacks sufficient information to admit or deny the matter

18    stated in the request based on the objections noted above. While the "s" time credits

19    themselves do not have a direct impact on the criminal justice system, they do result in

20    the release of inmates before they have served the entirety of their sentenced time, and

21    Defendant does not know the full extent of the impact on the criminal justice system.

22    REQUEST FOR ADMISSION NO. 27:

23           Admit that prisoners who are transferred to the Department of Mental Health

24    receive credits under 15 CCR section 3043.6(b).

25    RESPONSE TO REQUEST FOR ADMISSION NO. 27:

26           Defendant objects to this request on the grounds that it seeks information that is

27    not relevant to any party's claim or defense at issue in this proceeding. Defendant

28    further objects to this request on the grounds that it requires a response that is more
                                                 - 26-
     . DEFENDANT ARNOLD SCHWARZENEGGER'S RESPONSE TO PLAINTIFF COLEMAN'S
      SECOND SET OF REQUESTS FOR ADMISSIONS
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 1    properly sought from parties or persons other than this responding Defendant.

 2   . Additionally, assumin.gtnat the request regards section 3043.6.(b) of Title 15 Qfthe

 3    California Code of Regulations, this request misstates the·scope of and multiple subparts

 4    contained within the referenced section. Defendant further objects to this request on the

 5    grounds that it seeks information protected from disclosure by th~ attorney-client

 6    privilege, deliberative process privilege, and official information privilege. Defendant

 7   further objects to this request on the grounds that it assumes information beyond the

 8    knowledge of this responding Defendant and seeks a legal conclusion. Defendant

 9   further objects to this request on the grounds that it requires this responding Defendant

10   to assume an incomplete hypothetical. Defendant further objects to this request on the

11    grounds that it is burdensome and oppressive in that in order to appropriately respond ,

12    Defendant would have to review thousands of records of prisoners and/or parolees

13    granted thes.e credits. Defendant further objects to this request on the grounds that it is

14    overbroad, unduly burdensome, vague, and ambiguous as to time in that it fails to

15    specify any period of time, and is therefore not reasonably calculated to lead to the

16    discovery of admissible evidence.

17           Subject to, and without waiving the above objections, Defendant responds to this

18    request as follows: Defendant admits upon information and belief that prisoners

19    transferred to the Department of Mental Health receive credits as detailed in Title 15 of

20    the Ca.lifornia Code of Regulations section 3043.6(b).

21    REQUEST FOR ADMISSION NO. 28:

22           Admit that credits for prisoners who are transferred to the Department of Mental

23    Health do not cause an ADVERSE IMPACT ON PUBLIC SAFETY in California.

24    RESPONSE TO REQUEST FOR ADMISSION NO. 28:

25           Defendant objects to this request on the grounds that it seeks information that is

26    not relevant to any party's claim or defense at issue in this proceeding. Defendant

27    further objects to this request on the grounds tha.t it requires a response that is more

28    properly sought from parties or persons other than this responding Defendant.
                                               - 27-
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..
      1    Defen(jantfurther objects to this· request on the grounds that it is vague and ambiguous

      2    as to the terms "transferre.d to the Department of Mental Health" and "ADVERSE

      3    IMPACT ON PUBLIC SAFETY." Defendant further objects to this request on the

      4    grounds that it seeks information protected from disclosure by the attorney~client

      5    privilege, deliberative pro.cess privilege, and official information privilege. Defendant

      6    fu'rther objects to this request on the grounds that it assumes information beyond the

      7    knowled~e of this responding Defendant and seeks a legal conclusion. Defendant

      8    further objects to this request on the grounds that it requires this responding Defendant

      9    to assume an incomplete hypothetical. Defendant further objects to this request on the

     10    grounds that it is burdensome and oppressive in that in order to appropriately respond,

     11    Defendant would have to review thousands of records of prisoners and/or parolees

     12    granted these credits. Defendant further objects to this request on the grounds that it is

     13    overbroad, unduly burdensome, vague, and ambiguous as to time in that it fails to

     14    specify any period of time, and is therefore not reasonably calculated to lead to the

     15    discovery of~admissible evidence.

     16           Subject to, and without waiving the above objections, Defendant responds to this

     17,   request as follows: Defendant lacks sufficient information to admit or deny the matier

     18    stated in the request based on the objections noted above. While the credits received

     19    by prisoners who are transferred to the Department of Mental Health do not have a direct

     20    impact on public safety, they do result in the release of inmates before they have served

     21    the entirety of their sentenced time, and Defendant does not know the full extent of the

     22    impact on public safety.

     23    REQUEST FOR ADMISSION NO. 29:

     24           Admit that credits for prisoners who are transferred to the Department of Mental

     25    health do not cause an ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM in

     26    California.

     27    RESPONSE TO REQUEST FOR ADMISSION NO. 29:

     28           Defendant objects to this request on the grounds that it seeks information that is
                                                       - 28-
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  1    not relevant toeny party's claim or defense at issue in this proceeding, Defendant
  2    further objects to this request on thegro.unds that it requires a re,sp.onse that is. more
  3     properly sought from parties or pE;,rsons other than this re,sponding Defendant
  4     Defendant further objects to this request on the grounds that it is vague and ambiguous

  5     as. to theierms "transferred tQ the Department of Mental Health" and "ADVERSE
  6     IMPACT ON THE CRIMINAL JUSTICE SYSTEM~" Defendant further .objects to this
  7     request on the grounds that it seeks information protected !from disclosure by the
  8     attorney,..client privilege, delibera~ive process privilege, and official information privilege,

  9     Defendant further obJects to this request on the grounds that it assumes information
10      beyond the know/edge of this responding Defendant and seeks a legal conclusion,

11      Defendant further objects to this request on the grounds that it requires this responding

12      Defendant to assume an incomplete hypothetical. DefendanUurther objects to this
. 13    request .on the grounds that it is burdensome and oppressive in that in order to

 14     appropriately respond, Defendant would have to review thousands of records of
 15     prisoners and/or parolees granted these credits, Defendant further objects to this

 16     request on the grounds that it is overbroad, unduly burdensome, vague, and ambiguous
 17     as to time in that it fails to specify any period of time, and is therefore not reasonc;lbly

 18     calculated to lead to the discovery of admissible evidence,

 19            Subject to, and without waiving the above objections, Defendant responds to this

 20     request as follows: Defendant lacks sufficient information to admit or deny the matter
 21    . stated in the request based on the objections noted above, While the credits received

 22     by prisoners who are transferred to the Department of Mental Health do not have a direct

 23     impact on the criminal justice system, they do result in the release of inmates before they

 24     have served the entirety of their sentenced time, and Defendant does not know the full

 25     extent of the impact on the criminal justice system.
 26     REQUEST FOR ADMISSION NO. 30:

 27            Admit that some prisoners who are diagnosed by a physician or psychiatrist is

 28     totally medically disabled receive credits under Title 15 CCR section 3044(b)(2)(E).
                                                    - 29-
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 1    RESPONSE TO_REQUES;'f.FOR.ADMISSIONNO. 30:

 2           Oef(i}ndant obj~cts to this naqu.est on the grounds that it seeks info(1nation that is
 3    not relevant to any party's claim or defense at issue in this proceeding. Defendant

 4    further objects to this request on the grounds that it requires a response that is more

 5    properly sought from parties or persons other than this responding Defendant.

 6    Additionally, assuming that the request regards section3044(b )(2)(~) of Title 15 of the

 7    California Code of Regulatio':ls, this request misstates the scope of the referenced

 8    section. Defendant further objects to this request on the grounds that it seeks

 9    information protected from disclosure by the attorneY-Client privilege, deliberative

10    process privilege, and official information privilege. Defendant further objects to this

11    request on the grounds that it assumes information beyond the knowledge of this

12    responding Defendant and seeks a legal conclusion. Defendant further objects, to this

13    request on the grounds that it requires this responding Defendant to assume an

14    incomplete-hypothetical. Defendant further objects to this request on the grounds that it

15    is burdensome and oppressive in that in order to appropriately respond, Defendant

16    would have to review thousands .of records of prisoners and/or parolees granted these

17    credits. Defendant further objects to this request on the grounds that it is overbroad,

18    unduly burdensome, vague, and ambiguous as to time in that it fails to specify any

19    period of time, and is therefore not reasonably calculated to lead to the discovery of

20    admissible evidence.

21            Subject to, and without waiving the above objections, Defendant responds to this

22    request as follows: Defendant admits that prisoners diagnosed by a physician and/or

23    psychiatrist as totally disabled receive worktime credits as detailed in Title 15 of the

24    California Code of Regulations section 3044(b)(2)(E) during the duration of their total .

25    disability.
26·   REQUEST FOR ADMISSION NO. 31:

27            Admit that credits for prisoners who are diagnosed by a physician or psychiatrist

28    as totally mentally disabled under Title 15 CCR section 3044(b )(2)(E) do not cause an
                                                 - 30-
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  1     AOVERSE IMPACT ON PUBLIC SAFETY in California.
  2·. RESPQNS,E TO J~EQUESl"FOR.ADM1SSI.ONNO ..31:
  3            Defendant objects to this request on the grounds that it seeks information that is

  4     not relevant to any party's claim or defense at issue in this proceeding. Defendant

  ·5    further objects to this request on the grounds that it requires a response that is more

  6     properly, sought from parties or persons other than this responding Defendant.

  7     Defendant further objects to this request on the grounds that it is vague and ambiguous

  8     as to the term "ADVERSE IMPACT ON PUBLIC SAFETY." Additionally, assuming that

  9     the request regards section 3044(b )(2)(E) of Title 15· of the California Code of

 10     Reg~lations, this request misstates the scope of the referenced sectiQn. Defendant

 11     further objects to this rec:juest on the grounds that it seeks information proteGted from

 12     disclosure by the attorney-client privilege, deliberative process privilege, and official

 13     information privilege. Defendant further objects to this reql,Jest on the grounds that it

 14 .   assumes information beyond the knowledge of this respondil1g Defendant and seeks a

 15     legal conclusion. Defendant further objects to this request on the grounos that it

 16     requires this responding D~fendant to assume an incomplete hypothetical. Defendant

 17     further objects to this request on the grounds that it is burdensome and oppresSive in

 18     that in order to appropriately respond, Defendant would have to review thousands of

 19     records of prisoners and/or parolees granted these credits. Defendant further objects to

. 20    this request on the grounds that it is overbroad, unduly burdensome, vague, and

 21     ambiguous as to time in that it fails to specify any period of time, and is therefore not

 22     reasonably calculated to lead to the discovery of admissible evidence.
                                                                                      ,
 23            Subject tO,and without waiving the above objections, Defendant responds to this

 24     request as follows: Defendant lacks sufficient information to admit or deny the matter

 25     stated in the request based on the objections noted above. While the credits received

 26     by prisoners who are diagnosed as totally disabled under Title 15 of the California Code

 27     of Regulations section 3044(b)(2)(E) do not have a direct impact on public safety, they

 28     do result in the release of inmates before they have served the entirety of their
                                                   - 31 -
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 1     sentenced time, and Defendant does not know the full extent of the impact on public

 2.. safety.
 ·3    REQUEST FOR ADMISSION NO. 32:

 4             Admitthat credits for prisoners who are diagnosed by a physician or psychiatrist

 5     as totally mentally disabled under Title 15 CCR section 3044(b )(2)(E) do not cause an

 6     ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM in California.

 7     RESPONSE TO RE,QUEST FOR ADMISSION NO. 32:

 8             E>efendant objects to this request on the grounds that it seeks information that is

 9     not relevanUo any party's claim or defense at issue in this proceeding. Defendant

10     further objects to this· request on the grounds that it requires a response tMat is more

11     properly sougmt from part,ies or persons other than this responding Defendant.

12     Defendant further objects to this request on the grounds that it is vague and ambiguous

13     as to the term "ADVERSE IMPACT ON THE CRIMINAL JUSTICE SYSTEM."

14     Additionally, assuming that the request regards section 3044(b )(2)(E) of Title 15 of the

15     California Code of Regulations, this request misstates the scope of the referenced

16     section. Defendant further objects to this request on the grounds that it seeks

17     information protected from disClosure by the attorney-client privilege, deliberative

18·    process privilege,. and official information privilege. Defendant further objects
                                                                                    .
                                                                                         to this

19     request on the grounds that it assumes information beyond the knowledge of this

20     responding Defendant and seeks a legal conclusion. Defendant further objects to this

21     request on the grounds that it requires this responding Defendant to assume an

22     incomplete hypothetical. Defendant further objects to this request on the grounds that it

23     is burdensome and oppressive in that in order to appropriately respond, Defendant

24     would have to review thousands of records of prisoners and/or parolees granted these

25     credits. Defendant further objects to this request on the grounds that it is overbroad,

26     unduly burdensome, vague, and ambiguous as to time in that it fails to specify any

27     period of time, and is therefore not reasonably calculated to lead to the discovery of

28    . admissible evidence.
                                                   - 32-
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